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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
                          __________________________________


UNITED STATES OF AMERICA                   §
                                           §
v.                                         §       Criminal No. 3:09-CR-249-D
                                           §
NATHAN TODD SHAFER (5)                     §

                         PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Fourth Superseding Indictment in this case, the United States

of America (“the Government”) sought forfeiture from defendant Nathan Todd Shafer

(“Shafer”) pursuant to his conviction on Count One and 18 U.S.C. §§ 981(a)(1)(C),

including the following property:

        Money Judgment

1.      The total amount of proceeds obtained, directly or indirectly, as a result of the
        offense in Count One of the Fourth Superseding Indictment, which is
        $3,262,909.50.

        Personal Property

2.      The following personal property for Shafer’s conviction under Count One:

     (a) $250 of $2,652.96 in funds contained in Account XXXXXX2104 in the name of
         Spider Development Corporation at JPMorgan Chase Bank, Dallas, Texas, seized
         on or about March 11, 2009.


        WHEREAS, a federal trial jury found Shafer guilty of Count One of the Fourth

Superseding Indictment;




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        WHEREAS, the record in this case, including, but not limited to, the trial record

and evidence from the asset forfeiture hearing support the forfeiture of the property;

        WHEREAS, as a result of the record in this case, the Court has determined that the

Government has established the requisite nexus between the offense in Count One and

the property designated for that count and that the property is subject to forfeiture to the

United States pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. § 2461(c) and further

that a money judgment should issue for the amount of proceeds from Count One of the

Fourth Superseding Indictment in the amount of $3,262,909.50;

        And WHEREAS, as a result of the record in this case, the Court has determined

that the Government has established that it is entitled to seek substitute assets of the

defendant pursuant to 21 U.S.C. § 853(p);

        IT IS HEREBY ORDERED that any proprietary interest Shafer has in the

following property is condemned and forfeited to the United States subject to the

provisions of 21 U.S.C. § 853(n):

        Money Judgment

1. The total amount of proceeds obtained, directly or indirectly, as a result of the offense

    in Count One of the Fourth Superseding Indictment, which is $3,262,909.50 for which

    Shafer is jointly and severally liable with any codefendants convicted of that same

    count of the Fourth Superseding Indictment;

        Personal Property

2. The following personal property for Shafer’s conviction under Count One and

    in partial satisfaction of Shafer’s money judgment:



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        (a)     $250 of the $2,652.96 in funds contained in Account XXXXXX2104 in the
                name of Spider Development Corporation at JPMorgan Chase Bank,
                Dallas, Texas, seized on or about March 11, 2009 which the trial jury
                determined by special verdict to be directly forfeitable as proceeds of the
                offense in Count One;

        (b)     the remaining $2,402.96 of the $2,652.96 in funds contained in Account
                XXXXXX2104 in the name of Spider Development Corporation at
                JPMorgan Chase Bank, Dallas, Texas, seized on or about March 11, 2009
                as substitute proceeds for the offense in Count One;

        (c)     $11,112.46 in funds belonging to Shafer, which are currently in the
                possession of his attorneys and which are hereby forfeited as substitute
                proceeds for the offense in Count One.

        IT IS FURTHER ORDERED that, pursuant to 21 U.S.C. § 853(g) and Fed. R.

Crim. P. 32.2(b)(3), the forfeitable property shall be seized by the Attorney General, or

his duly authorized representative, and held in its secure custody and control pending a

final order of forfeiture.

        IT IS FURTHER ORDERED that counsel for Shafer shall surrender the

$11,112.46 of Shafer’s money to the United States Marshals Service (USMS).

        IT IS FURTHER ORDERED in accordance with 21 U.S.C. § 853(n)(1) and Fed.

R. Crim. P. 32.2(b)(3), the Attorney General (or his designee) shall post notice on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive days,

notice of this Preliminary Order of Forfeiture; notice of the Government’s intent to

dispose of the property; and notice that any person, other than the defendant, having or

claiming a legal interest in the property must file a petition with the Court no later than

60 days after the first day of publication on an official internet government forfeiture site,

and serve a copy thereof on Walt M. Junker, Special Assistant United States Attorney,




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1100 Commerce Street, Third Floor, Dallas, Texas 75242. This notice shall state that the

petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest

in the property; shall be signed by the petitioner under penalty of perjury; and shall set

forth the nature and extent of the petitioner’s right, title, or interest in the property, the

time and circumstances of the petitioner’s acquisition of the right, title, or interest in the

property, and any additional facts supporting the petitioner’s claim and the relief sought.

The Government shall send, by means reasonably calculated to reach the person, direct

written notice to any person who reasonably appears to be a potential claimant with

standing to contest the forfeiture, as a substitute for posted notice on the government

forfeiture site, as to those persons so notified.

        It is FURTHER ORDERED pursuant to Fed. R. Crim. P. 32.2(b)(3) that the

Government may apply to the Court to conduct any discovery that the Court considers

proper to help identify, locate, or to dispose of the property, should the circumstances

present themselves, and that, upon adjudication of all third-party interests, this Court will

enter a final order of forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P.

32.2(c) in which all interests will be addressed.

                SIGNED May 24, 2012.



                                     _______________________________
                                     SIDNEY A. FITZWATER
                                     CHIEF JUDGE




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